Case 4:22-cr-20188-MFL-CI ECF No. 8, PagelD.62 Filed 04/06/22 Page 1 of 2

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

United States of America,
Plaintiff,

Vv.
Case: 4:22-cr-20188

. Judge: Kumar, Shalina D.
D-1 Michael Angelo, MJ: Ivy, Curtis

D-2 Hassan Kamal Fayd, Filed: 04-06-2022 At 08:53 AM
D-3 Mirna Kamal Fayad IN RE: SEALED MATTER (sk)
aka “Myrna Kamal Fayad”,

D-4 Cory Justin Mann,

D-5 Thomas Reed Quartz, and

D-6 Rosina Angelo

aka “Rosina Caruvana”,

Defendants.

GOVERNMENT?’S MOTION AND SUPPORTING BRIEF
TO SEAL INDICTMENT AND ARREST WARRANTS

The United States of America hereby moves for an order sealing the indictment
and arrest warrants in this case and states:

1. The indictment in this case charges the defendants with one or more federal
crimes.

2. Rule 6(e)(4) of the Federal Rules of Criminal Procedure provides:

(4) Sealed Indictment. The magistrate judge to whom an indictment is

returned may direct that the indictment be kept secret until the defendant is in
custody or has been released pending trial. The clerk must then seal the

indictment, and no person may disclose the indictment’s existence except as
necessary to issue or execute a warrant or summons.

Case 4:22-cr-20188-MFL-CI ECF No. 8, PagelD.63 Filed 04/06/22 Page 2 of 2

Fed.R.Crim.P. 6(e){4).

3. The government requests that the Indictment and arrest warrants be sealed

because it is concerned that the defendants may attempt to flee, destroy

evidence, or intimidate witnesses if the Indictment and arrest warrants become

a matter of public record before the defendants are arrested.

WHEREFORE, the government requests this Court to issue an order

sealing the Indictment and arrest warrant.

Dated: April 6, 2022

IT IS SO ORDERED.

cmon: KprQle, 282

Respectfully submitted,

Dawn N. Ison
United States Attorney

s/Mark McDonald

Mark McDonald

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VA 72198

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Curttsevy, Jr.

United States asset Judge

